Case 2:05-cr-80955-DML-RSW ECF No. 1738, PagelD.11236 Filed 02/27/24 Page 1of1

AO 247 (Rev. 03/19) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2) Page | of 2 (Page 2 Not for Public Disclosure)

UNITED STATES DISTRICT COURT

for the

Eastern District of Michigan

United States of America

)
Vv.
) J
DEMETRIUS EDWARD FLENORY Cae Doe OSCRE0855 uz
) USM No: 13037-078 -
Date of Original Judgment: __ 09/12/2008 sy
Date of Previous Amended Judgment: __06/14/2021__—s+y_-_—- Brittany Barnett, Esquire
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(2)

Upon motion of the defendant [| the Director of the Bureau of Prisons [] the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10

and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
LIpENIED. [V]GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in

the last judgment issued) of 324 months is reduced to 292
(See Page 2 for additional parts. Complete Parts | and II of Page 2 when motion is granted)

Count 3: Pursuant to 18 U.S.C. § 3582(c)(2), the defendant is committed to the custody of the Bureau of Prisons for a
term of 292 months: Count 10: The original sentence of 240 months, concurrent to Count 3, remains.

Except as otherwise provided, all provisions of the judgment dated 06/14/2021 #shall remain in effect.
IT ISSO ORDERED.

ni,
Order Date: 02/27/2024 CT

Effective Date: 02/01/2024 David M |. Lawson, United States District Judge

(if different from order date) Printed name and title

lge’s signature

